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 1   DANIEL G. BOGDEN
     United States Attorney
 2   CRISTINA D. SILVA
     CRANE M. POMERANTZ
 3   Assistant United States Attorney
     333 Las Vegas Boulevard South, Suite 5000
 4   Las Vegas, Nevada 89101
     Phone: (702) 388-6336
 5   Fax: (702) 388-5087

 6
                          UNITED STATES DISTRICT COURT
 7                             DISTRICT OF NEVADA
 8                                    -oOo-
 9
     UNITED STATES OF AMERICA,                          )
10                                                      )     2:13-mj-000776-VCF
                           Plaintiff,                   )
11                                                      )
        vs.                                             )   Stipulation to Continue Preliminary
12                                                      )     Hearing (Ninth Request)
                                                        )
13   ROBERT WOLFE,                                      )
                                                        )
14                         Defendant.                   )
                                                        )
15

16                  IT IS HEREBY STIPULATED AND AGREED, by and between Daniel G.

17   Bogden, United States Attorney, and Cristina D. Silva and Crane M. Pomerantz, Assistant United

18   States Attorneys, counsel for the United States of America, and Louis Schneider, Esq., counsel for

19   defendant Robert Wolfe, that the preliminary hearing date in the above-captioned matter, currently

20   scheduled for January 20, 2014, at 4:00 pm, be vacated and continued for thirty (30) days, to a

21   date and time to be set by this Honorable Court.

22                  This stipulation is entered into for the following reasons:

23                  1.     The parties have met, and, on several occasions, conferred regarding this

24   case. The parties believe they have successfully negotiated this case. Defense counsel would like

25   time to complete his review of discovery and confer with his client to finalize a plea. By allowing

26   more time, the Defendant may enter a plea, which will alleviate the need for an indictment to be


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     filed, or for the case to proceed to trial.
 1
                     2.        The parties agree to the continuance.
 2
                     3.        The defendant is not incarcerated and does not object to the continuance.
 3
                     4.        Additionally, denial of this request for continuance could result in a
 4
     miscarriage of justice.
 5
                     5.        The additional time requested herein is not sought for purposes of delay, but
 6
     to allow for the case be resolved via a pre-indictment plea.
 7
                     6.        The additional time requested by this stipulation, is allowed, with the
 8
     defendant=s consent under the Federal Rules of Procedure 5.1(d).
 9

10
                     DATED this 20th day of January, 2015.
11
                                                                       Respectfully submitted,
12                                                                     DANIEL G. BOGDEN
                                                                       United States Attorney
13
             //s//                                                     //s//
14
     LOUIS SCHNEIDER, ESQ.                                             CRANE M. POMERANTZ
15   Counsel for Defendant -                                           Assistant United States Attorney
     ROBERT WOLFE
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 6                           UNITED STATES DISTRICT COURT
 7                                DISTRICT OF NEVADA
 8                                       -oOo-
 9
     UNITED STATES OF AMERICA,                          )
10                                                      )      2:13-mj-00776-VCF
                             Plaintiff,                 )
11                                                      )
        vs.                                             )   FINDINGS OF FACT AND ORDER
12                                                      )
                                                        )
13   ROBERT WOLFE,                                      )
                                                        )
14                           Defendant.                 )
                                                        )
15
                                             FINDINGS OF FACT
16
                     Based on the pending Stipulation of counsel, and good cause appearing therefore,
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     the Court finds that:
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                     1.      The parties have met, and, on several occasions, conferred regarding this
19
     case. The parties believe they have successfully negotiated this case. Defense counsel would like
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     time to complete his review of discovery and confer with his client. By allowing more time, the
21
     Defendant may enter a plea, which will alleviate the need for an indictment to be filed, or for the
22
     case to proceed to trial.
23
                     2.      The parties agree to the continuance.
24
                     3.      The defendant is not incarcerated and does not object to the continuance.
25
                     4.      Additionally, denial of this request for continuance could result in a
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                                                        3
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     miscarriage of justice.
 1
                    5.         The additional time requested herein is not sought for purposes of delay, but
 2
     to allow for the case be resolved via a pre-indictment plea.
 3
                    6.         The additional time requested by this stipulation, is allowed, with the
 4
     defendant=s consent under the Federal Rules of Procedure 5.1(d).
 5
                    7.         This is the ninth request for a continuance of the preliminary hearing.
 6
                    For all of the above-stated reasons, the ends of justice would best be served by a
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     continuance of the preliminary hearing date.
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                                           CONCLUSIONS OF LAW
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                    The ends of justice served by granting said continuance outweigh the best interest
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     of the public and the defendant, since the failure to grant said continuance would be likely to result
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     in a miscarriage of justice, would deny the parties herein sufficient time and the opportunity
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     within which to be able to effectively and thoroughly prepare for the preliminary hearing, and
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     possibly resolve the case prior to the preliminary hearing or an indictment, taking into account the
15
     exercise of due diligence.
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                    The continuance sought herein is allowed, with the defendant=s consent, pursuant to
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     Federal Rules of Procedure 5.1(d).
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 1
                                                 ORDER
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                   IT IS THEREFORE ORDERED that the preliminary hearing currently scheduled
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     for January, 2014, at the hour of 4:00 pm, be vacated and continued to February 20, 2015 at the
 4
     hour of 4:00 pm in courtroom 3D.
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 6                 DATED 20th day of January, 2015.

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                                                         ___________________________________
 8                                                       THE HONORABLE CAM FERENBACH
                                                         UNITED STATES MAGISTRATE JUDGE
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